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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

THE CITY OF PHILADELPHIA, et al.

            Plaintiffs,
                                         Case No. 19-cv-1608 (JMF)
      v.

BANK OF AMERICA CORPORATION, et
al.

            Defendants.



 PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION FOR
     CLASS CERTIFICATION AND APPOINTMENT OF CLASS COUNSEL



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                                         INTRODUCTION

       This case involves a conspiracy by Defendants to inflate the interest rates for Variable Rate

Demand Obligations (“VRDOs”), bonds issued by public entities to raise funds for crucial

infrastructure and public services. The interest rates public entities pay on these primarily

tax-exempt bonds are reset on a periodic basis, allowing issuers to obtain long-term financing at

short-term interest rates. Plaintiffs the City of Philadelphia, the Mayor and City Council of

Baltimore, the Board of Directors of the San Diego Association of Governments, Acting as the

San Diego County Regional Transportation Commission (“SANDAG”), and other members of the

proposed class hired Defendants as remarketing agents (“RMAs”) and paid them hundreds of

millions of dollars in fees to reset the bonds’ interest rates at the lowest possible rate to permit

trading at par. But instead of fulfilling that responsibility and competing against each other for

class members’ remarketing business, Defendants colluded to inflate VRDO rates for their own

profit and to the detriment of issuers such as Plaintiffs.

       Plaintiffs allege two claims for relief based on Defendants’ conspiracy to raise VRDO

interest rates: price-fixing in violation of the Sherman Act, and breach of contract. Plaintiffs now

seek class certification because the issues of fact and law raised by their claims are common to all

class members. For Plaintiffs’ Sherman Act claim, the ultimate merits question will be whether

Defendants conspired to artificially inflate interest rates for the VRDOs they were retained to

service. As this and other courts have consistently found in price-fixing cases, that question turns

on proof common to the class. Plaintiffs’ state-law breach-of-contract claims will likewise focus

on Defendants’ conduct. These claims are based on written contracts in which Defendants made

the same two promises to all class members: (1) to set VRDO rates at the lowest possible rates that

would permit the bonds to trade at par; and (2) to use their best efforts to remarket VRDOs. By




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acting in their own interests to artificially inflate rates, Defendants deprived all class members of

the benefits they were entitled to under the contracts.

         In order to prove that all class members were harmed by Defendants’ conspiracy, and that

damages can be estimated on a class-wide basis, Plaintiffs have retained two leading economists:

Professor William Schwert, 1 Distinguished Professor of Finance and Statistics Emeritus at the

University of Rochester and Dr. Rosa M. Abrantes-Metz, 2 a former senior competition policy

advisor to the World Bank and former Federal Trade Commission economist. As set forth in their

reports, both experts have conducted a series of well-accepted economic tests that all lead to the

same conclusion: Defendants’ conspiracy harmed all or virtually all class members. Professor

Schwert concludes that Defendants’ conspiracy had class-wide impact based on the results of

regression models that isolate the effect of the conspiracy on VRDO rates. Dr. Abrantes-Metz

reaches the same conclusion from her structural analysis of the market for VRDO remarketing

services and her rate study. Moreover, Professor Schwert’s models can also be used to quantify

class-wide damages, and they indicate aggregate class-wide damages in the billions of dollars.

         There is little doubt that this case meets Rule 23(b)(3)’s requirement that “questions of law

or fact common to class members predominate over any questions affecting only individual

members.” Plaintiffs respectfully submit that they have satisfied their burden under Rule 23(b)(3)

and request that the Court certify the following class (the “Class”):




1
  Ex. 1 to Decl. of Elizabeth Aronson in Support of Plaintiffs’ Motion for Class Certification
(Expert Report of William Schwert (“Schwert Rpt.”), Oct. 27, 2022). References to “Ex.” in this
memorandum correspond to exhibits to the Aronson Declaration.
2
    Ex. 2 (Expert Report of Dr. Rosa Abrantes-Metz (“Abrantes-Metz Rpt.”), Oct. 27, 2022).


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               All persons and entities who directly paid interest expenses on
               VRDOs that had interest rates reset on a weekly or daily basis
               pursuant to remarketing agreements with Defendants at any point
               from February 1, 2008 through November 30, 2015 (the “Class
               Period”). Excluded from the Class are Defendants and their
               employees, affiliates, parents, subsidiaries, and co-conspirators, and
               the United States government.

Plaintiffs further request that the Court certify the following sub-class (the “Contract Sub-Class”)

under Rule 23(b)(3):

               All persons and entities who were party to a remarketing agreement
               with any Counterparty Defendant 3 that applies to VRDOs that had
               interest rates reset on a weekly or daily basis at any point from
               February 1, 2008 through November 30, 2015 (the “Class Period”).
               Excluded from the Contract Sub-Class are Defendants and their
               employees, affiliates, parents, subsidiaries, and co-conspirators, and
               the United States government.

Plaintiffs also request that the Court appoint Quinn Emanuel Urquhart & Sullivan, LLP, Wollmuth

Maher & Deutsch LLP, and Susman Godfrey LLP as Co-lead Class and Sub-Class Counsel

pursuant to Rule 23(g).

                                  FACTUAL BACKGROUND

       Plaintiffs begin by summarizing just some of the abundant evidence of Defendants’

conspiracy—in the form of emails, chats, deposition admissions, and transactional data—that

Plaintiffs developed during discovery. As discussed below, all of this evidence is common to the

Class and goes to the common issue of liability.




3
 “Counterparty Defendant” is defined as any of the following: Banc of America Securities LLC;
Barclays Capital, Inc.; Citigroup Global Markets Inc.; Goldman Sachs & Co. LLC; J.P. Morgan
Securities LLC; Merrill Lynch, Pierce, Fenner & Smith Inc.; RBC Capital Markets LLC;
Wachovia Bank N.A.; or Wells Fargo Bank, N.A.


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               A.      Common Evidence Will Show that the VRDO Market Was
                       Susceptible to Price Fixing

       VRDOs are typically issued by municipalities and other public entities such as schools and

community organizations to raise funds for operating expenses, infrastructure projects, and public

services. Primarily long-term tax-exempt bonds, VRDOs’ interest rates are periodically (most

often weekly or daily) reset. To attract investors, VRDOs include a built-in “put” feature giving

investors an option to redeem the bond on any periodic reset date for its full face value (“par”) plus

any accrued interest. This combination of features enables VRDO issuers to access long-term debt

at short-term interest rates and provides investors with a highly liquid investment opportunity. See

Abrantes-Metz Rpt. ¶ 25.

       To manage the bonds, VRDO issuers contracted with Defendants to act as RMAs pursuant

to remarketing agreements. Those agreements imposed on Defendants the same two primary

remarketing obligations: to (1) reset the VRDO interest rates at the lowest possible rate that permits

the bonds to trade at par, and (2) use their best efforts to remarket VRDOs put back by investors.

In exchange for these services, Plaintiffs paid fees to Defendants, which were calculated as a

percentage of the VRDOs’ outstanding principal amount.

       Common evidence will show that during the Class Period, Defendants were the major

players in the market for remarketing services, collectively serving as RMAs for more than 70%

of the VRDO market during the Class Period. Abrantes-Metz Rpt. ¶ 63. As competitors,

Defendants marketed themselves to Plaintiffs and other issuers as the banks best able to fulfill the

RMA’s responsibilities and achieve the lowest cost of borrowing. For example, in response to a

Request for Proposal from SANDAG, Bank of America asserted that its remarketing desk had

“distinguish[ed] itself” during the financial crisis, highlighted its “remarketing efforts and strong

pricing versus competitors,” and claimed that its “distribution network, proven marketing



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strntegies and willingness to commit capital . . . have translated into competitive variable rate

pricing for our issuer clients." 4 Similarly, a Citi deck prepared for the City and County of San

Francisco boasted that "Citi has developed a disciplined and analytical rate resetting process which

allows for competitive management of its remarketing book and ultimately results in a skew

toward tighter spreads for the benefit of the issuer." 5 And as Barclays put it to a potential client:

                At the end of the day, the sho1i -te1m business is all about the rates
                you are able to achieve for your clients. Eve1y extra basis point your
                remarketing agent is able to squeeze out of the market relates to real
                dollars. The sho1i -te1m desk at Barclays Capital understan ds and
                respects this fact and our strong belief in the superior nature of our
                cmTent platfo1m is staked on the results we are able to produce for
                our clients.6

         Beginning as early as 2008, however, Defendants conspired not to compete against each

other in the market for remarketing services and instead conspired to inflate the interest rates that

VRDO issuers paid to investors. Class-wide evidence will show that Defendants accomplished this

primarily by coordinating on the proprieta1y "base rates" they used as the "staiiing point" to set

their VRDO rates. 7 These base rates were supposed to be confidential, as they reflected



4
    Ex. 3 (BOFA-VRDO-SDNY-00907795) at 3 (July 23, 2008).
5
    Ex. 4 (CITI-VRDO-SDNY-011 84859) at 5 (Sept. 24, 2015).
6
 Ex. 5 (BARCLAYS-SDNY0124336) at -388 (Jan. 22, 2010) (Ltr. from Jim Molloy, Healthcai·e
Group Co-Head, and James Kim, Director, to Doug Klebe, Senior Vice President/ CFO, T01Tance
Memorial Medical Center).
7 See, e.g., Ex. 6 (Blankenship (Bank of America ("BOA")) Dep.) at 148:24-149:2 ("Q. Can you

tell me what you mean by 'base rate' ? Yes. A starting point."); Ex. 7 (Luong (Barclays) Dep.) at
32:18-33: 12 ("[W]e had something called a general mai·ket rate, which maybe~
refen-in to as the base rate." · Ex. 8 Toscanini Citi De . at 79:5-80:1 ~
                                                                         Ex. 9 (Klein (Goldman Sachs
                                                                                Ex. 10 (Morgan Stanley
("Morgan") 30(b)(6) Dep.) at 116:14-11 7: 15 escn mg "tienng" o VRDOs); Ex. 11 (Pulling (JP
Morgan ("JPM")) Dep.) at 121 :10-123:11 (explaining that the base rate "was a starting point where
all the other chai·acteristic trading values would make adjustments to that base rate based on that
specific security's trading values"); Ex. 12 (Lai·aia (RBC) Dep.) at 275:6-276:18 ("I guess the best
way to say it is the base rate is a staii ing point to establish where we set other rates."); Ex. 13 (PX


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Defendants’ non-public assessment of the appropriate rate for a generic, tax-exempt VRDO. 8 To

determine rates for specific VRDOs, Defendants applied a spread against the base rate. By

coordinating to inflate their “base rates,” Defendants were able to impact the rates for every VRDO

in their remarketing portfolios.

               B.      Common Evidence Will Show that Defendants Directly Exchanged
                       Prospective Rate Information

       Defendants carried out their agreement to inflate VRDO rates through frequent

communication of prospective rate information. By talking to other RMAs about whether to move

the base rate up or down in any given week, RMAs were able to convey to each other how they

planned to move those VRDO rates with minimal effort. Defendants primarily relied on two means

to communicate about the VRDO rates they would set: (1) directly communicating prospective

rate information with one another through chats, phone calls, and other means; and (2) channeling

prospective rate information through the pricing service J.J. Kenny and

       Defendants’ antitrust policies barred their municipal trading desks from communicating

with each other about where they expected to reset interest rates on the VRDOs they remarketed.

For example,




154) (May 7, 2015) (email from Andrew Mafucci, head of Wells Fargo’s (“WF”) short-term and
institutional trading, describing use of base rates).
8
  See, e.g., Ex. 9 (Klein (Goldman) Dep.) at 115:22-116:15
                            ; Ex. 11 (Pulling (JPM) Dep.) at 121:14-121:18 (“It was the rate that we
would set on a non-AMT, general market, JP Morgan-backed VRDO.”); id. at 273:17-23 (agreeing
that JP Morgan’s base rate was not public); Ex. 14 (McCarthy (JPM) Dep.) at 33:18-35:2
(explaining that setting a base rate involves “setting a market-clearing rate” for a “typical name”).


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                                Morgan Stanley’s Compliance Manual similarly cautioned employees

to




                                                          In her report, Dr. Abrantes-Metz explains

that price-information exchanges are of particular concern because sharing such information not

only facilitates coordinated behavior, it also enables co-conspirators to detect pricing deviations

and thus enforce anticompetitive agreements. See Abrantes-Metz Rpt. ¶¶ 102-22.

          Evidence common to the Class will show that, despite these policies, Defendants shared

proprietary information on a near daily basis by telephone, via Bloomberg messaging technology,

and through third-party intermediaries. 12 Frequently, Defendants asked one another questions

about the rates a Defendant planned to set, using thinly veiled code such as, “What are you thinking

for SIFMA?” and “what do you think SIFMA goes to next week?” referring to the SIFMA

Municipal Swap Index, a market index composed of tax-exempt VRDOs. 13 These discussions




9
    Ex. 15 (PX 1661) § 24.2 (Mar. 9, 2016).
10
     Ex. 16 (PX 2326) at 76 (Dec. 31, 2012).
11
     Ex. 17 (PX 801) at 3, 4.
12
  See Ex. 18 (PX 1709) & Ex. 19 (GS-VRDO-04519726) (call logs reflecting inter-Defendant
phone calls from 2008-2016).
13
  See, e.g., Ex. 20 (PX 1972) (July 22, 2009) (Bloomberg message between Richard White (WF)
and Kenneth Rogers (BOA)) (“what do u think for SIFMA” “THINKING 38/39”); Ex. 21
(MS-VRDO_00900395) (July 19, 2010) (Bloomberg message between Ben Langmead (Morgan)


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often included highly specific predictions about rates. 14 For example, Bloomberg messages dated

Febmaiy 23 2010 show Morgan Stanley rate setter BenLangmead and Goldman Sachs rate setter

Cynthia Klein discussing where they think SIFMA will reset with Mr. Langmead telling Ms.

Klein ''I think we 're 0.19% +/- 1bps. You?" Klein promptly agreed noting, 'DAILIES FLYING

OUT Tiffi LOW TEENS SO TIIAT'S ABOUT RIGHT." 15

        Defendants also exchanged inf01mation about their respective VRDO invento1y levels

which functioned as key indicators of where Defendants planned to reset rates. 16 By shruing

inventory information, Defendants could indicate what direction their base rates were going-

facilitating their ability to collusively inflate rates. 17 Defendants admit that they viewed

info1mation about their VRDO invent01y levels as commercially sensitive, proprietruy, and non-

public. 18 Yet Defendants ' document productions contain numerous messages in which rate setters




and Richard White (WF)) ( 'what ru·e u thinking for SIFMA next week" ' Think we ' re probably
looking at around .29 to 0.30." . .. ' How about you what are you thinkin°? '".28/.29).
14 See supra n. 13.

15 Ex. 22 (PX 1843) (Feb. 23, 2010).

16 See, e.g.Ex. 8 (Toscanini (Citi) Dep.) at 27:4-28:22 (confirming that invent01y was "the most
important factor' when setting VRDO rates)" Ex. 14 (McCaithy (JPM) Dep.) at 256:25-257:15
(explaining how rates moved in response to inventory)· Ex. 23 (Langmead (Morgan) Dep.) at
112:24-113:14 (' I think all market paiticipants knew that there was a connection between
invent01y and rates the saine way as other macro or microeconomic events and indicators . .. . I
think it was common knowledoe that that was one of the mitioating factors in resetting rates.')·
Ex. 24 (White (WF) Dep.) at 95:3-9 ("[T]hat was the main factor of raising rates was the
movement of the inventories.").
17 See, e.g.Ex. 24 (White (WF) Dep.) at 172:8-15 ("I would think he would aheady know that if
he 's heavy and I m heavy that rates are going to oo higher.").
18 Ex. 25 (BOA 30(b)(6) Dep.) at 150:15-151:6 ("It would be inappropriate to shai·e the detail of

the invento1y available on LMS with another market maker." ; Ex. 26 Goldman 30        6 De . at
200:7-203:17
                                                                           Ex. 24 (White
(WF) Dep.) at 167 :20-24 ("Q. And that information -- info1mation about Morgan Stanley s
invento1y was proprietaiy to Morgan Stanley, correct? A. Correct.').


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from supposedly competing banks discussed their inventory levels with one another. Class-wide

proof will show that Defendants often used terms like “heavy,” “swollen,” or “backed up” to

indicate that they were carrying more VRDOs in inventory than they wanted, and “medium” or

“light” to denote moderate or little inventory. 19

                  C.   Common Evidence Will Show that Defendants Used Intermediaries to
                       Exchange Prospective Rate Information

         From at least 2008 until 2012, Defendants exploited several third-party pricing indices

compiled by J.J. Kenny in order to communicate about the VRDO rates they planned to set. The

most important of these was the Weekly High Grade Index, which J.J. Kenny released every

Monday, Tuesday, and Wednesday morning, and, when the market was volatile, also on Thursdays

and Fridays. 20 The bulk of weekly VRDO resets occurred on Tuesdays and Wednesdays. 21

         Although J.J. Kenny marketed its High Grade Index as an innocuous average of “municipal

tax-exempt notes,” common evidence will show that Defendants used the Index as a key means to

effectuate their conspiracy by exchanging forward-looking base rates.




19
   See, e.g., Ex. 27 (PX 1957) (Feb. 10, 2010) (Bloomberg message between Ben Langmead
(Morgan) and Rick White (WF)) (“how is your inventory? light /medium/ or well done??”); Ex.
28 (PX 92) (Apr. 15, 2008) (Bloomberg message between Rick White (WF) and Rob Toscanini
(Citi) (“how bad is your vrdn inventory?” “its gotten quite ugly over the past few hours”); Ex. 29
(PX 2411) (Apr. 27, 2010) (Bloomberg message between Cynthia Klein (Goldman) and Rick
White (WF)) (“HOW IS YOUR INVENTORY?” “LITE-U??”); Ex. 30 (PX 2420) (June 22, 2010)
(Bloomberg message between Ben Langmead (Morgan) and Cynthia Klein (Goldman)) (“You
seeing tighter spreads on BBVA? Our forward weekly carry on the light side but want to be careful
in pricing our European stuff.”); Ex. 31 (WF_PHIL-000855417) (Feb. 10, 2010) (Bloomberg
message between Cynthia Klein (Goldman) and Rick White (WF)) (“How is your inventory?”
“SWOLLEN”); Ex. 32 (PX 282) (Aug. 10, 2011 Bloomberg message between David Lo



                  -
(Barclays) and Chris Dimon (Citi) discussing inventory).
20
     See Ex. 33           Dep.) at 19:20-20:9.
21
  See, e.g., Ex. 34 (Murphy (Barclays) Dep.) at 35:2-7; Ex. 35 (Broge (Citi) Dep.) at 111:19-23;
Ex. 9 (Klein (Goldman) Dep.)) at 69:20-25; Ex. 14 (McCarthy (JPM) Dep.) at 16:24-17:9; Ex. 24
(White (WF) Dep.) 50:5-50:17; see also Ex. 36 (Brewer (BOA) Dep.) at 123:6-20.


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Defendants responded with the base rates they expected to set that day.23 Along with their High

Grade submissions Defendants also informed                        of their spreads for key VRDO

categories, such as     ew York and California-based VRDOs. 2

                                                      25




                                   Thus.                           each Defendant learned the rates

(i.e. prices) each of its major competitors had submitted to J.J. Kenny.28 Unsmprisingly common

evidence shows that when settino their final rates for the day Defendants regularly relied on the

High Grade Index as a " good barometer of where VRDO rates are resetting. " 29



22 Ex. 3                   at 156:11-14.
23 Ex. 9 (Klein (Goldman) Dep.) at 159:19-24; see also Ex. 36 (Brewer (BOA) Dep.) at 234:7-12·
Ex. 8 Toscanini (Citi) Dep. at 185:9-186:18; Ex. 26 (Goldman 30(b)(6) Dep.) at 98 :16-18· Ex. 14
(lvfcCai1hy (JPM) Dep.) at 70: 16-23· Ex. 12 (Laraia (RBC) Dep.) at 205:2-13· Ex. 24 (White (WF)
Dep.) at 46:18-24.
24 Ex. 3                   at 159:15-23.
25 Id. at 32:21-33:5.




29 Ex. 38 (PX 503) (July 25 2012) (e-mail thread between BOA personnel)' see also, e.g. Ex. 39
(BARCLAYS-SD            0129451) (Rommell Medina (Bai·clays) repo1ts to other Barclay personnel
that " [a]s evidence of 1ising resets today's JJK Index came in at 0 .24%' )· Ex. 40 (PX 1672) (lvfay
11 2010) (e-mail between Kyle Pulling and Peter McCaiihy (JPM) where Mr. Pullinoreports that


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                                                                                                  31



Seizing on this oppo1tunity Defendants submitted their finalized Tuesday base rates 32 enabling

Defendants to use the PARS Index as an additional check on each other's private base rates.

          After the LIBOR rate-manipulation scandal came to light in 2012, Defendants quietly

distanced themselves from J.J. Kenny 's indices, recognizing that scrutiny of their practices could,

as with the LIBOR scandal expose them to antitmst liability. 33




he set JPM's base rate at a ' conservative 30" basis points after learning that the High Grade Index
had come in at that rate).
30 Ex. 3~             Dep.) at 175:6-22 & 179:21-24.
31 Id. at 141:10-142:7.

32 See,e.g. Ex. 11 (Pulling (JPM) Dep.) at 146:24-14 7: 16 (explaining that the rate JP Morgan
submitted to PARS "was equivalent to the base rate after we had ah-eady set and distributed it").




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                D.       Common Evidence Will Show that Defendants Had Shared Incentives
                         to Coordinate Rates

        Common evidence will show that absent coordination Defendants that set higher rates than

their competitors would be at risk of losino their clients to those competitors. See Abrantes-Metz

Rpt.   ,r 91-92. As Defendants have acknowledged the remarketing services they offered were
largely interchangeable. 39 If an issuer realized its RMA was setting inflated rates there was little

stopping that issuer from switching to a better performing RMA. Thus each Defendant was

incentivized to keep its VRDO rates consistent with its competitors' and to work collectively to

increase all Defendants' rates in lock-step.      o Defendant wanted to stick its head above the

parapet.




35 Ex. 4                 Dep.) at 45: 10-14; see also, e. .        GS-VRDO-03154226) (June 11
2012) (email from Cynthia Klein (Goldman) to                        ("Inventories beginning to pile
up . . . . Weeklies probably reset in the 19-20 camp." .
36 Ex. 43                Dep.) at 35:4-18 35:25-36:14.
37 See id. at 50:9-17.

                                                               Ex. 46 (PX 2604)
                                                       30(b)(6) Dep.) at 52:19-53 :25 & 55 :9-58:13

39 See, e.g.Ex. 35 (Brage (Citi) Dep.) at 118:7-1 5 ("Im not famifoff with what services other
remarketing agents offer but I would imagine they likely don 't differ too much.')' Ex. 48 (Shields
(Morgan) Dep.) at 66:9-13 (agreeing that issuers could easily obtain remarketing services from
another bank).


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         Common evidence will also show that Defendants also faced enormous pressure to avoid

puts by investors. If Defendants could not readily remarket the bonds, Defendants took them into

inventory until they could find new investors. 40 The cost of carrying VRDOs on a bank’s balance

sheet was typically greater than the returns from holding the bond, resulting in a negative cost of

carry. 41 It was thus critical for Defendants to minimize the likelihood they would end up having to

carry VRDOs in inventory,

                                          ARGUMENT

         A party seeking class certification must satisfy by a preponderance of the evidence the

requirements of Rule 23(a)—numerosity, commonality, typicality, and adequacy of

representation—and at least one subsection of Rule 23(b). See Amgen Inc. v. Conn. Ret. Plans &

Tr. Funds, 568 U.S. 455, 460 (2013). Here, Plaintiffs seek class certification under Rule 23(b)(3),

which requires plaintiffs to show: (1) “questions of law or fact common to class members

predominate over any questions affecting only individual members” and (2) “a class action is

superior to other available methods for fairly and efficiently adjudicating the controversy.” Fed.

R. Civ. P. 23(b). “Predominance is satisfied ‘if resolution of some of the legal or factual questions

that qualify each class member’s case as a genuine controversy can be achieved through

generalized proof, and if these particular issues are more substantial than the issues subject only

to individualized proof.’” Roach v. T.L. Cannon Corp., 778 F.3d 401, 405 (2d Cir. 2015) (quoting




40
  See, e.g., Ex. 23 (Langmead (Morgan) Dep.) at 29:11-17; Ex. 12 (Laraia (RBC) Dep.) at 45:12-
46:2; Ex. 24 (White (WF) Dep.) at 77:21-78:6; Ex. 49 (JPM 30(b)(6) Dep.) at 172:20-173:2.
41
  See, e.g., Ex. 50 (Lo (Barclays) Dep.) at 51:22-52:4 (“[T]he objective is to have no inventory
whatsoever.”); Ex. 51 (Heppolette (Citi) Dep.) at 44:12-16; Ex. 26 (Goldman 30(b)(6)) Dep.) at
190:5-11.
42
     Ex. 52 (PX 1373) (Mar. 18, 2010) (e-mail chain between JPM personnel).


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Catholic Healthcare W. v. U.S. Foodservice Inc. (In re U.S. Foodservice Inc. Pricing Litig.), 729

F.3d 108, 118 (2d Cir. 2013)).

       “The Second Circuit has directed district courts to interpret Rule 23 liberally, to maximize

the benefits to both private parties and to the public provided by class actions.” In re Chicago

Bridge & Iron Co. N.V. Sec. Litig., 2020 WL 1329354, at *2 (S.D.N.Y. Mar. 23, 2020). On a

motion for class certification, “a district judge ‘should not assess any aspect of the merits unrelated

to a Rule 23 requirement.’” See Ap-Fonden v. GE Co., 341 F.R.D. 542, 548 (S.D.N.Y. 2022)

(Furman, J.) (quoting In re Initial Pub. Offering Sec. Litig., 471 F.3d 24, 41 (2d Cir. 2006)). As

discussed below, Plaintiffs satisfy all requirements of Rule 23 in this case. A class action is

therefore “the method best suited to adjudication of the controversy fairly and efficiently.” Amgen,

568 U.S. at 460 (alteration and internal quotation marks omitted).

       I.      THE PROPOSED CLASS AND SUB-CLASS SATISFY RULE 23(A)

       Numerosity (and Ascertainability). In the Second Circuit, “numerosity is presumed at a

level of 40 members.” Consol. Rail Corp. v. Town of Hyde Park, 47 F.3d 473, 483 (2d Cir. 1995).

Rule 23(a)’s numerosity requirement is easily met here, as the proposed Class consists of,

conservatively, at least 734 members, see Schwert Rpt. ¶ 83, and the proposed Contract Sub-Class

consists of, conservatively, at least 730 members, id. at 55 n.96. Class membership is also

ascertainable because the class is defined “using objective criteria that establish a membership

with definite boundaries.” In re Petrobras Sec. Litig., 862 F.3d 250, 264 (2d. Cir. 2017).

       Commonality. The commonality requirement “simply requires that there be issues whose

resolution will affect all or a significant number of the putative class members.” Johnson v. Nextel

Commc’ns Inc., 780 F.3d 128, 137 (2d Cir. 2015). “[E]ven a single common question will do[.]”




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Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 359 (2011) (alterations and quotation omitted). In

this case, Plaintiffs’ claims present many common issues of law and fact, including:

           •   Did Defendants conspire to inflate VRDO rates during the Class Period?

           •   Did the inflation of VRDO rates impact all or virtually all class members by
               resulting in the obligation to pay at least one higher VRDO interest payment to
               bondholders?

           •   Did Defendants’ conduct violate section 1 of the Sherman Act?

           •   Did Defendants’ conduct deprive class members of the benefit of their RMA
               contracts?

           •   What are the appropriate measures of class-wide harm for Plaintiffs’ claims?

These questions more than satisfy Rule 23(a)’s commonality requirement.

       Typicality. “The typicality threshold is satisfied where the claims arise from the same

conduct from which the other class members’ claims and injuries arise.” Atwood v. Intercept

Pharm., Inc., 299 F.R.D. 414, 416 (S.D.N.Y. 2014) (quoting Casper v. Song Jinan, 2012 WL

3865267, at *2 (S.D.N.Y. Sept. 5, 2012)). Here, the class representatives and class members all

assert claims that arise from Defendants’ unlawful inflation of VRDO interest rates, and their

injuries flow directly from that wrongful conduct. Each of the named Plaintiffs paid interest

expenses on VRDOs that had interest rates reset on a weekly or daily basis during the Class

Period. Philadelphia had fourteen such VRDOs, Baltimore had four, and SANDAG had three. Am.

Compl. ¶¶ 25, 26, 30. “Because the representative plaintiffs will seek to prove that they were

harmed by the same overall course of conduct and in the same way as the remainder of the class,

their claims are by all appearances typical of the class.” In re Air Cargo Shipping Servs. Antitrust

Litig., 2014 WL 7882100, at *31 (E.D.N.Y. Oct. 15, 2014) (Pohorelsky, M.J.), report and

recommendation adopted, 2015 WL 5093503 (E.D.N.Y. July 10, 2015).




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       Adequacy. “The adequacy requirement is satisfied where: (1) there is no conflict between

the proposed lead plaintiff and the members of the class; (2) the proposed lead plaintiff has a

sufficient interest in the outcome of the case to ensure vigorous advocacy; and (3) class counsel is

qualified, experienced, and generally able to conduct the litigation.” Atwood, 299 F.R.D. at 416

(quoting Casper, 2012 WL 3865267, at *2). Here, no conflict exists between the class’s

representatives and its members. The class representatives hold claims worth millions of dollars,

assuring their vigorous advocacy, and the Court has already found that class counsel have the

qualifications, experience, and ability to prosecute the claims, see Dkt. 97. Accordingly, the

proposed class representatives and counsel adequately represent the class.

       II.     COMMON QUESTIONS PREDOMINATE

               A.      Class-Wide Evidence Is Available to Prove the Common Questions of
                       Collusion, Impact, and Damages

                       1.      Collusion

       The abundant evidence of Defendants’ conspiracy summarized above is all common to the

Class and directed to a common question of fact: Did Defendants conspire to inflate interest rates

that VRDO issuers paid to investors? As the common evidence at trial will show, the answer is

“Yes.” This strongly supports class certification. “As the Supreme Court has observed, the

requirement of predominance is ‘readily met in certain cases alleging . . . violations of the antitrust

laws.’” In re IMAX Secs. Litig., 283 F.R.D. 178, 187 (S.D.N.Y. 2012) (quoting Amchem Prods.,

Inc. v. Windsor, 521 U.S 591, 625 (1997)). Evidence showing Defendants conspired to restrain

trade is “indisputably common because it focuses on the allegedly unlawful actions of the

defendants, not the actions of individual plaintiffs.” Air Cargo, 2014 WL 7882100, at *38 (internal

quotation marks omitted).




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        Whether Defendants violated § 1 of the She1man Act depends on whether Defendants'

conduct "stems from independent decision or from an agreement, tacit or express." Bell At!. C01p.

v. Twombly, 550 U.S . 544, 553 (2007). As this Comt explained in denying Defendants' motion to

dismiss, "a horizontal agreement or conspiracy-the sort of pact alleged here-' may be infened

on the basis of conscious parallelism, when such interdependent conduct is accompanied by

circumstantial evidence and plus factors.'" Dkt. 136 at 11 (quoting Todd v. Exxon Corp. , 275 F.3d

191 , 198 (2d Cir. 2001) (Sotomayor, J.)). "Such 'plus factors may include: a common motive to

conspire, evidence that shows the parallel acts were against the apparent individual economic self-

interest of the alleged conspirators, and evidence of a high level of interfinn communications."'

Id. (quoting Mayor & City Council of Baltimore v. Citigroup, Inc. , 709 F.3d 129, 136 (2d Cir.

2013) (internal quotation marks omitted)). Paiiicularly important here, "fo1ward-looking,

price-bearing communications . . . can support an inference that there was a conspiracy to fix

prices." Id. at 16.

        Plaintiffs will use evidence common to the Class to show that Defendants agreed to inflate

VRDO rates, including:

    •   Defendants' chats and emails in which they discuss prospective VRDO rate infonnation,
        including their predictions for "SIFMA" and their testimony that this reflected Defendants'
        view of where they expected VRDO general market rates to reset;

    •   Defendants' chats and emails in which they discuss proprietaiy info1mation about their
        VRDO invento1y levels and their testimony that inventory levels drove rate setting;

    •   Admissions by Defendants that, dming the Class Period, the         red prospective
        rate info1mation-includino their base rates-with



    •



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   •


   •   Expe1t testimony from Professor Schwert showing that that the spread between the "but-
       for" VRDO rates and actual VRDO rates cannot be explained by non-collusive factors; and

   •   Expe1t testimony from Dr. Abrantes-Metz regarding how the remarketing services market
       stmcture facilitated agreement by Defendants, Defendants' common incentives for
       colluding, and quantitative analysis showing that changes to base rates resulted in changes
       to final VRDO rates.

As this list makes clear, the "the nature and significance" of the common issues here is not just

"more substantial" than any potential individualized issues-"they fonn the crux of the class

claims. " In re AXA Equitable Life Ins. Co. COI Litig. , 2020 WL 4694172, at *14 (S.D.N.Y. Aug.

13, 2020).

                      2.        Impact

       Rule 23(b)(3) requires Plaintiffs to demonstrate that the fact of impact is "capable of proof

at trial through evidence that is common to the class." Dial Corp. v. News Corp., 314 F.R.D. 108,

115 (S.D.N.Y. 2015). That standard is readily met here.

       To prove impact, Plaintiffs will offer testimony and analyses from two well-respected

economists. Professor Schwe1t is the Distinguished Professor of Finance and Statistics Emeritus

at the University of Rochester and was the Managing Editor of the Journal of Financial

Economics from 1995 until 2021, where he had an been an Editor since 1979. Schwe1t Rpt. ml 1-2.

His research focuses on corporate fmance, capital markets, and statistics. Id. Fo1merly an

economist at the Federal Trade Commission, Dr. Abrantes-Metz has worked on numerous

investigations into pricing manipulations and conspiracies, including the LIBOR scandal.

Abrantes-Metz Rpt. ,r,r 8-10.




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       Professor Schwert and Dr. Abrantes-Metz offer complementary approaches to

demonstrating class-wide impact. Each expert not only offers “workable methodolog[ies] to

demonstrate that antitrust injury can be proven on a class-wide basis,” they show exactly how the

impact of Defendants’ collusion can be shown on a class-wide basis. Dial, 314 F.R.D. at 115; see

also In re Restasis (Cyclosporine Ophthalmic Emulsion) Antitrust Litig., 335 F.R.D. 1, 18

(E.D.N.Y. 2020) (evaluating expert’s impact methodology “to determine whether ‘no reasonable

juror could have believed’ it,” “[o]r, as other courts have framed it . . . whether [plaintiffs] have

‘advanced a workable methodology to demonstrate that antitrust injury can be proven on a

class-wide basis’” (first quoting Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 459 (2016), then

quoting Dial, 314 F.R.D. at 115)).

                               i)     Professor Schwert Demonstrates Class-wide Impact

       Professor Schwert offers two sophisticated regression models for measuring the class-wide

impact of Defendants’ conspiracy: (1) a multiple-dummy-variable analysis; and (2) a prediction,

or backcasting analysis. The results of both of these models reveal that during the Class Period,

Defendants’ VRDO rates were persistently inflated above competitive levels, demonstrating that

all or virtually all VRDOs had higher interest rates because of Defendants’ conspiracy, and thus

all or virtually all Class members (who paid those higher rates) were injured. See Schwert

Rpt. ¶¶ 53-57.

       As Professor Schwert explains, “[a] standard approach to estimating the effect of a

price-fixing conspiracy is to compare prices during a conspiratorial period to prices during a

‘benchmark’ non-conspiratorial period,” while controlling for factors unrelated to the conspiracy.

Id. ¶ 39. Professor Schwert first identifies an appropriate non-conspiratorial period to use as a




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“benchmark”: December 2015 to December 2020. 43 Professor Schwert then identifies two

datasets: one from the conspiracy period, which is coextensive with the Class Period (running from

February 2008 to November 2015), and one from the non-conspiracy, benchmark period (running

from December 2015 through December 2020). The datasets include information on each VRDO’s

characteristics, including, among other things, the rates set on every reset date, the “initial amount”

raised by issuing the VRDO, and tax status. Id. ¶ 60.

        Using this data, Professor Schwert conducted a multiple-dummy-variable analysis,

consisting of separate regression models for daily and weekly VRDOs. 44 The models first control

for major “explanatory” variables that could affect rates but are unrelated to Defendants’

conspiracy, such as tax status. 45 See id. ¶¶ 40-46, 50-52. After controlling for these variables, the

models then measure how much higher VRDO rates were during the conspiracy period relative to

the benchmark period. In order to generate week-by-week estimates of the conspiracy’s impact,

the models include one “dummy” variable for each of the conspiracy period’s 410 weeks. See id.

¶¶ 63-64.

        Professor Schwert’s multiple-dummy-variable analysis shows that Defendants’ conspiracy

led to higher rates for all or virtually all VRDOs in the Class. Specifically, Professor Schwert finds

that weekly VRDO rates were inflated in 361 of the conspiracy period’s 410 weeks and daily


43
  Professor Schwert begins the benchmark period in December 2015 because that is roughly when
the SEC began receiving whistleblower complaints. Schwert Rpt. ¶ 48. December 2020 is the end-
date for the data produced in this litigation. See id.
44
   Professor Schwert also includes a single-dummy-variable analysis in his report, which shows
that, all else equal, rates during the conspiracy period were inflated relative to rates during the non-
conspiracy period. Schwert Rpt. ¶¶ 58-62.
45
   The explanatory variables Professor Schwert controlled for include (1) the risk-free rate;
(2) default risk; (3) VRDO tax status; (4) issuer state; (5) remarketing agent; (6) notional amount
outstanding; (7) the VRDO’s long-term and short-term ratings; and (8) whether the VRDO was a
general obligation bond. Schwert Rpt. ¶¶ 51-52.


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VRDO rates were inflated in 320 of the conspiracy period's 410 weeks. See id. at 37 n.85, 43 n.88.

This is depicted graphically in Figmes 3 and 4 (weekly VRDOs) and Figmes 5 and 6 (daily

VRDOs). See id. ,i,i 65, 66. Professor Schwe1t then examines the number of individual VRDOs

that were reset dming at least one of these weeks when rates were inflated. As shown below,

Professor Schwe1t finds tha.% of weekly VRDOs had at least one reset in a week where

Defendants inflated weekly VRDO reset rates, an-% of daily VRDOs had at least one reset

in a week where Defendants inflated daily VRDO reset rates. Overall.% of VRDOs had at

least one reset in a week where Defendants were inflating VRDO reset rates. Id. ,i 69, Table 5. 46


                                           Table S
                   Summary of :'.'lumber of VRDOs
                                            J      Injured by Conspiracy
                       Based on �lultiple Dummy-,I ariable l\llodels
                                  :\"umber of   :\"umber with     Percentage with
                  Twe of Reset       \'ROOs         Inim;·            Injun·

                 Weekly

                 Daily

                 Total


       Comts have routinely accepted models like Professor Schweli's multiple-dummy variable

analysis as proof of class-wide impact. "In antitrust cases, regression models have been widely

accepted as a generally reliable econometric technique to control for the effects of the differences

among class members and isolate the impact of the alleged antitrust violations on the prices paid

by class members." Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th



46
  The de minimis unimpacted VRDOs had rates reset exclusively in weeks where Professor
Schwe1t's model estimates a non-positive time-dummy coefficient, e.g., a VRDO issued in
September 2015.


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651, 677 (9th Cir. 2022); In re Elec. Books Antitrust Litig. (“E-Books”), 2014 WL 1282293, at *9

(S.D.N.Y. Mar. 28, 2014) (accepting model using the “widely-used ‘before and after’ approach”);

In re Ethylene Propylene Diene Monomer (EPDM) Antitrust Litig., 256 F.R.D. 82, 97, 103 (D.

Conn. 2009) (in price-fixing case, certifying class where plaintiff showed impact could be

demonstrated through model comparing class-period prices to “benchmark period” prices). As one

court has explained, “[t]he benchmark period has been conceptually defined as ‘normal’ years

against which an antitrust plaintiff compares alleged ‘conspiracy years’ to show the impact of the

conspiracy.” In re: Domestic Drywall Antitrust Litig., 322 F.R.D. 188, 224 (E.D. Pa. 2017).

“Plugging in known prices [i.e., rates] and market factor data from the class period and running

the regression equation to solve for the dummy variable allows the experts to calculate the portion

of price not accounted for by the market factors.” In re Broiler Chicken Antitrust Litig., 2022 WL

1720468, at *12 (N.D. Ill. May 27, 2022).

       While Professor Schwert’s multiple-dummy-variable analysis alone is sufficient to show

class-wide impact, Professor Schwert has further analyzed this issue by using another model as

well. Professor Schwert’s prediction, or “backcasting” analysis, takes a slightly different

approach to evaluating impact. Whereas his multiple-dummy-variable model compares

conspiracy-period data to benchmark data in order to estimate the impact of Defendants’

conspiracy, Professor Schwert’s backcasting analysis draws exclusively on benchmark data. See

Schwert Rpt. ¶ 43. Professor Schwert uses the benchmark data to estimate the relationships

(“coefficients”) between VRDO rates and the major “explanatory” variables that could affect

VRDO rates. Professor Schwert then predicts, or “backcasts” (since the prediction is backwards

looking), what VRDO rates would have been during the Class Period “but for” Defendants’

conspiracy—that is, if Defendants’ conspiracy had not occurred. The difference between actual,




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real-world VRDO rates and the backcast ' but-for ' rates provides another well-accepted economic

approach for assessino the conspiracy's impact. See id.      72.

       Because it compares real-world transactional data with predicted but-for prices the

backcasting model allows Professor Schwe1t to detennine impact on a per-reset basis. The results

of Professor Schwert's backcastingmodel show that Defendants ' con piracy to inflate VRDO rates

caused all or virtually all Class members to ovel])ay interest rates on at least one reset. Specifically

as shown below Professor Schwert finds tha-          % of the VRDOs in the Class had rates that were

inflated above competitive levels on at least one reset date. Id.    74 Table 8.



                                           Tabl S
                     umm 1 · of . umb r of\ lU)Q Injured by             onsparacy
                                  Based on Backcast ~fodels

                                   . umber of     . ·umber itb      Percent ve itb
                    peofResa        \"RDOs            Injun·            Injun·




                      Total




These results. therefore pro ide additional compelling proof of class-wide impact.

        Comts reguhuly accept backca ting models at the certification stage. See, e.g. In re

Urethane Antitrust Litig., 768 F.3d 1245 1260 (10th Cir. 2014) (accepting model that involved

projecting a model from a "benchmark period" into a ' conspiracy period" in order "to calculate

the prices that would have existed but for the conspiracy ); Broiler Chicke11 2022 WL 1720468,

at *13 (acceptino model where expe1t used 'benchmark period data ' to ' predict what the market

price should have been during the clas period'')- Ho:,p. Auth. of Metro. Gov 'f of Nashv;//e &



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Davidson Cnty., Tennessee v. Momenta Pharms., Inc., 333 F.R.D. 390, 410 (M.D. Tenn. 2019)

(finding that plaintiff’s backcasting model “sufficiently demonstrate[d] that there is common

evidence capable of demonstrating the fact of antitrust impact”). Defendants are sure to disagree

with Professor Schwert’s conclusions, or the technical details of his models, but “the issue at class

certification is not which expert is the most credible, or the most accurate modeler, but rather have

the plaintiffs demonstrated that there is a way to prove a class-wide measure of [impact] through

generalized proof.” EPDM, 256 F.R.D. at 100. Professor Schwert’s analyses easily satisfy this

requirement.

       Defendants will likely argue that impact must be determined using a “netting” approach—

i.e., that harm class members suffered from inflated VRDO rates must be offset by some theoretical

benefits class members gained from the conspiracy. Plaintiffs disagree that netting is relevant to

this case, as decades of antitrust caselaw makes clear. See, e.g., New York v. Hendrickson Bros.,

Inc., 840 F.2d 1065, 1079 (2d Cir. 1988) (“[A]ntitrust treble-damage actions should not be

complicated by a need to trace the effects of the overcharge with respect to such matters as prices,

costs, and the potentially different behavior of all the pertinent variables in the absence of the

overcharges.”); In re Namenda Indirect Purchaser Antitrust Litig., 338 F.R.D. 527, 557 (S.D.N.Y.

2021) (“[A]n antitrust injury occurs the moment the purchaser incurs an overcharge, whether or

not that injury is later offset.” (internal quotation marks omitted)).

       Courts permit “offsetting” class members’ gains from a conspiracy against their losses only

in the rare circumstance where those gains “are properly associated with the collusive behavior”

at issue. E-Books, 2014 WL 1282293, at *15-16. Here, no class member benefited from

Defendants’ conspiracy to inflate VRDO interest rates. Still, Professor Schwert shows that netting

can be implemented formulaically through a class-wide methodology, so even if Defendants were




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somehow correct about netting, that would not bar certification. See Schwert Rpt. ¶ 70. Even under

this more conservative impact measure, Professor Schwert demonstrates that all or virtually all

VRDOs were injured by Defendants’ conspiracy. Id. ¶¶ 71-72, 75, 84-85.

                                ii)     Dr. Abrantes-Metz Demonstrates Class-Wide Impact

        Dr. Abrantes-Metz also offers two studies that together are capable of proving, and do

prove, class-wide impact: a market-structure analysis and a rate study. Dr. Abrantes-Metz’s

market-structure analysis employs a methodology regularly used by economists to identify

markets likely to facilitate collusion among competitors. Abrantes-Metz Rpt. ¶ 58. The

methodology involves examining qualitative evidence of (1) the alleged cartel’s market power,

including barriers to entry and substitute products; (2) its economic incentives; (3) the

homogeneity of the products sold; (4) the relative complexity of the market’s pricing structures;

(5) the ability to police the cartel; and (6) the nature and extent of information sharing. Id. ¶¶ 59-61.

This approach is consistent with antitrust guidelines adopted by the Federal Trade Commission,

the Department of Justice, and the Organization of Economic Cooperation and Development. Id.

        Based on her analysis of these factors, Dr. Abrantes-Metz concludes that Defendants’

conspiracy had the power to be potent and effective, artificially elevating VRDO rates. Id.

¶¶ 123-30. As Dr. Abrantes-Metz explains, during the Class Period Defendants collectively

controlled more than 70% of the VRDO market—a robust indicator of market power. Id. ¶¶ 62-66.

Defendants faced little outside pressure from prospective market entrants. Id. ¶¶ 67-69. From an

issuer (and investor) perspective, there is no substitute for VRDOs, and potential entrants into the

remarketing services industry faced high barriers to entry, including access to capital, ability to

offer comprehensive banking services to issuers, and considerable risk tolerance. Id. ¶¶ 70-72.

These characteristics are strong economic evidence that Defendants could raise VRDO rates across

the market. Id. ¶¶ 63, 124.


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       Dr. Abrantes-Metz further explains that Defendants’ common economic incentives,

interchangeable services, simple approach to rate setting, and ability to police one another’s prices

would make successful collusion more likely. See id. ¶¶ 73-101. In particular, Defendants’ shared

economic incentives ensured that Defendants would have little reason to deviate from the

conspiracy. Id. ¶¶ 73-92. And because Defendants understood their offerings to be homogenous,

Defendants could reach consensus on rates more easily than in a heterogenous market.

Id. ¶¶ 93-94. Defendants’ use of base rates similarly facilitated the conspiracy’s effectiveness,

because Defendants could set class-wide prices by reaching agreement on a limited number of base

rates. Id. ¶¶ 95-97. Defendants also had multiple avenues for monitoring one another’s pricing—

another market characteristic likely to diminish deviations from the cartel. See id. ¶¶ 98-101.

       Dr. Abrantes-Metz also analyzes the type of information Defendants exchanged with one

another during the Class Period and the frequency and timing of such information exchanges. See

id. ¶¶ 102-22. As Dr. Abrantes-Metz explains, Defendants frequently shared current and

prospective rate and inventory information with one another. Id. ¶¶ 102-03. Such repeated

forward-looking exchanges of competitively sensitive information are exactly the types of

communications that raise antitrust concerns, particularly in a homogenous market. Id.

       In addition to her market-structure analysis, Dr. Abrantes-Metz also conducts a rate study

to test whether Defendants’ conspiracy would have had class-wide effects. Id. ¶¶ 131-88. This

analysis uses regression models to study the relationship between “base rates” and interest rates

class members actually paid to determine whether Defendants’ inflation of base rates would cause

final rates to be inflated. Id. The analysis proceeds in two steps. First, Dr. Abrantes-Metz examines

record evidence showing that Defendants used base rates in connection with resetting interest rates

on VRDOs they remarketed, and that by adjusting their base rates, Defendants could




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simultaneously change the rate applicable to every VRDO in their portfolios. See id. ¶¶ 135-51.

Based on her qualitative analysis of this evidence, Dr. Abrantes-Metz concludes that effective

coordination to inflate base rates—what Plaintiffs allege here—could lead to supra-competitive

rates on all or virtually all VRDOs. Id. ¶ 151.

          In step two of her rate study, Dr. Abrantes-Metz employs a regression model to test her

conclusion that a conspiracy to inflate VRDO rates would lead to supra-competitive rates being

set on all or virtually all VRDOs. See id. ¶¶ 152-88. Specifically, Dr. Abrantes-Metz analyzes the

relationship between Wells Fargo’s base rates and its final VRDO rates, finding a nearly one-to-

one correlation between the two, reflected by the .97 and .98 coefficients. See id. ¶¶ 161-68,

Figs. 4 & 5. Dr. Abrantes-Metz also analyzes the relationship between Citi’s base rates and its

final rates, finding a similarly tight correlation, shown by a .90 coefficient. See id. ¶¶ 169-70,

Fig. 6.

          Dr. Abrantes-Metz uses two approaches to expand her single-Defendant analysis to the

remaining Defendants. See id. ¶¶ 171-88. In the first approach, Dr. Abrantes-Metz assumes that

changes in remaining Defendants’ base rates were directionally aligned with Wells Fargo and Citi,

and, accordingly, that data from Wells Fargo and Citi could be substituted for the absent data.

Dr. Abrantes-Metz then examines the relationship between (a) Wells Fargo’s and Citi’s base rates

and (b) the remaining Defendant’s final VRDO rates. See id. ¶¶ 172-78. In the second approach,

Dr. Abrantes-Metz uses Wells Fargo data to verify that the reset rates for Wells Fargo’s general

market, high-grade VRDOs were typically equal to Wells Fargo’s base rates. Dr. Abrantes-Metz

then identifies the same type of VRDOs (general market, high grade) in other Defendants’ data.

Id. ¶¶ 179-82. She uses this final rate data to construct “proxy” base rates for each Defendant. Id.

Dr. Abrantes-Metz then examines the relationship between each remaining Defendant’s proxy




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base rates and that Defendant’s final VRDO rates. Id. ¶ 183-85. Both of Dr. Abrantes-Metz’s

expanded analyses show that increases (or decreases) in base rates were associated with increases

(or decreases) in each Defendant’s VRDO reset rates. Id. Finally, Dr. Abrantes-Metz correlates

each Defendants’ proxy base rate with all other Defendants’ proxy base rates and finds that the

base rates moved in lock-step over the relevant period. Id. ¶¶ 186-88.

       Like Professor Schwert’s methodologies, Dr. Abrantes-Metz’s methodologies are well-

accepted approaches to proving class-wide impact. “Many courts have accepted market-structure

analyses in finding predominance with respect to antitrust impact.” In re Blood Reagents Antitrust

Litig., 2015 WL 6123211, at *31 (E.D. Pa. Oct. 19, 2015) (collecting cases). 47 Dr. Abrantes-Metz’s

report “provide[s] considerable material” explaining why the structure of the market for VRDO

remarketing services was conducive to price fixing, In re Capacitors Antitrust Litig. (No. III), 2018

WL 5980139, at *8 (N.D. Cal. Nov. 14, 2018), and her report presents overwhelming evidence

that the market characteristics she identifies “do, in fact, exist,” Blood Reagents, 2015 WL

6123211, at *31.

       As several courts have recognized, markets with pricing structures that involve “base” or

“market” prices are often susceptible to class-wide antitrust impact. See In re Urethane Antitrust

Litig., 768 F.3d 1245, 1255 (10th Cir. 2014) (finding no error in district court’s conclusion that by



47
   See also, e.g., Kleen Prod. LLC v. Int’l Paper Co., 831 F.3d 919, 927 (7th Cir. 2016) (expert
report “show[ing] that the structure of the containerboard market was conducive to successful
collusion” supported district court’s conclusion that antitrust injury could be proven on class-wide
basis); In re Linerboard Antitrust Litig., 305 F.3d 145, 154-55 (3d Cir. 2002) (expert’s analysis of
“industry characteristics” supported conclusion that common proof was available to prove impact);
Broiler Chicken, 2022 WL 1720468, at *13, 20 (accepting expert’s “evaluat[ion] [of] Broiler
market characteristics” as common evidence of antitrust impact); EPDM, 256 F.R.D. at 94 (finding
that expert’s market analysis “la[id] the groundwork for plaintiffs’ argument that, if collusive
behavior did occur, it would have been effective in raising prices across the class, thus
demonstrating class-wide injury-in-fact”).


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“raising the baseline prices for all buyers,” price-fixing conspiracy “would have affected the entire

market”); In re Cardizem CD Antitrust Litig., 200 F.R.D. 326, 345 (E.D. Mich. 2001) (explaining

that plaintiffs could prove class-wide injury by demonstrating that defendants’ collusive actions

“artificially raised” the baseline for price negotiations (internal quotation marks omitted)). “The

theory that underlies these decisions is, of course, that the negotiated transaction prices would have

been lower if the starting point for negotiations had been list prices set in a competitive market.

Hence, if a plaintiff proves that the alleged conspiracy resulted in artificially inflated list prices, a

jury could reasonably conclude that each purchaser who negotiated an individual price suffered

some injury.” In re Indus. Diamonds Antitrust Litig., 167 F.R.D. 374, 383 (S.D.N.Y. 1996).

        Courts have repeatedly found that analyses similar to the rate study conducted by

Dr. Abrantes-Metz can provide common proof of class-wide impact in price-fixing cases. See, e.g.,

Olean, 31 F.4th at 671, 676 (finding no abuse of discretion in district court’s reliance on expert’s

“pricing correlation test” as evidence of class-wide impact); Broiler Chicken, 2022 WL 1720468,

at *23, 20 (accepting expert’s finding that “actual prices paid mirrored the major price indices . . .

[and] prices charged by each defendant moved together over time” as class-wide proof);. 48 “Even

if not ultimately persuasive to a trier of fact, [such] evidence passes muster at the class certification

stage.” In re Dynamic Random Access Memory (DRAM) Antitrust Litig., 2006 WL 1530166, at *9

(N.D. Cal. June 5, 2006).




48
  See also In re Cathode Ray Tube (CRT) Antitrust Litig., 308 F.R.D. 606, 623, 627 (N.D. Cal.
2015) (approving use of correlation analysis finding “that higher price targets were closely
associated with higher actual prices” to show class-wide impact); In re Static Random Access
(SRAM) Antitrust Litig., 2008 WL 4447592, at *6 (N.D. Cal. Sept. 29, 2008) (finding that
correlation analyses could be used to prove antitrust injury).


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       Accordingly, Plaintiffs will present through the testimony of Professor Schwert and

Dr. Abrantes-Metz a series of rigorous economic analyses that are capable of proving class-wide

impact at trial. In combination, these analyses more than suffice to meet Plaintiffs’ burden.

                       3.     Damages

       Plaintiffs are also capable of quantifying class-wide damages. “Although courts must

carefully evaluate estimates to ensure that the experts’ methodology is a just and reasonable

inference and not speculative” at the class certification stage, “damages need not usually be

demonstrated with precision.” Namenda, 338 F.R.D. at 565 (quoting Hickory Secs. Ltd. v. Republic

of Argentina, 493 F. App’x 156, 159 (2nd Cir. 2012)). Even at the merits stage, an antitrust

damages model “need not be exact.” Comcast Corp. v. Behrend, 569 U.S. 27, 35 (2013). Because

antitrust defendants’ own conduct makes precise measurement difficult, “it will be enough if the

evidence shows the extent of the damages as a matter of just and reasonable inference.” Story

Parchment Co. v. Paterson Parchment Paper Co., 282 U.S. 555, 563 (1931).

                              i)      Professor Schwert’s Models Demonstrate that Plaintiffs
                                      Can Prove Damages on a Class-Wide Basis

       Professor Schwert’s report demonstrates “that damages are capable of measurement on a

classwide basis,” which is sufficient to support certification. Iowa Pub. Emps.’ Ret. Sys. v. Bank

of Am. Corp., 2022 WL 2829880, at *23 (S.D.N.Y. June 30, 2022) (Cave, M.J.), at *24 (quoting

Comcast, 569 U.S. at 34). Professor Schwert’s models determine the difference between actual

(inflated) VRDO rates and (uninflated) rates that would have been set but-for Defendants’

collusion, and can be used to calculate class-wide and individual class member damages. See

Schwert Rpt. ¶ 93.

       Professor Schwert applies his models reliably and formulaically to preliminarily estimate

class-wide damages. Gross damages are similar under both models—in the range of
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-       Id. ¶ 95 & Table 26. As Professor Schwert explains, if it were legally required (and

Plaintiffs do not believe it is), his model can also “net” damages on a class-wide, objective, and

formulaic basis, by including a quantum of “negative” damages associated with certain resets in

the estimate of per-VRDO damages. Net damages using both the multiple-dummy variable model

and the backcast model are about                 Id. ¶ 96 & Table 27.

       Professor Schwert’s model is “directly linked with [Plaintiffs’] underlying theory of

classwide liability.” Waggoner v. Barclays PLC, 875 F.3d 79, 106 (2d Cir. 2017); see also Roach,

778 F.3d at 407 (explaining that Comcast holds only “that a model for determining classwide

damages relied upon to certify a class under Rule 23(b)(3) must actually measure damages that

result from the class’s asserted theory of injury”). Plaintiffs allege that Defendants conspired to set

VRDO rates at supra-competitive levels. Professor Schwert’s model measures just that: the

difference between the inflated rates and the rates that would have been set absent Defendants’

conspiracy. This approach to measuring damages is well-accepted in this Circuit and ties directly

to Plaintiffs’ liability theory. See, e.g., Hendrickson Bros., 840 F.2d at 1077 (“Where the antitrust

violation is a price-fixing conspiracy, the measure of damages to one of the coconspirators'

customers is the difference between the prices actually paid and the prices that would have been

paid absent the conspiracy”).

                                ii)    Individualized Damages Issues Do Not Predominate

       Defendants can be expected to argue that individualized issues predominate because certain

class members may have attempted to hedge their VRDO exposure by entering into interest rate

swap transactions in which the class member paid a fixed rate and received a floating rate. That

argument fails for at least three reasons, each of which serves to highlight common questions.

       First, under hornbook antitrust law, antitrust plaintiffs are entitled to the full amount of

overcharge damages. That a plaintiff may have mitigated or even avoided an actual economic loss


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altogether is not a defense to anticompetitive conduct. More than fifty years ago the Supreme

Court opined that " if the buyer responding to the illegal price maintains his own price but takes

steps to increase his volume or to decrease other costs, his right to damages is not destroyed ....

As long as the seller continues to charge the illegal price he takes from the buyer more than the

law allows.' Hanover Shoe Inc. v. United Shoe Machine,y C01p. 392 U.S. 481 489 (1968). Under

Hanover Shoe, even plaintiffs who manage to fully mitigate impact-for example, by passing

overcharoes on to their customers through higher prices-may nonetheless recover damages for

the full amount of the overcharge. See E-Books 2014 WL 1282293 at *17 (explaining that

Hanover Shoe rejected the monopolist's ru·gument that it was entitled to show that the plaintiff

had passed on the overcharoe to its customers and had suffered no actual loss' )· In re Po~yurethane

Foam Anh/rust Litig. 314 F.R.D. 226 239 (N.D. Ohio 2014) (collecting cases). Thus, any hedging

strategies employed by Class members are irrelevant to damages.

         Second, Defendants might argue that ce11ain municipal issuers' VRDO-plus-swap strategy

should be viewed as a single transaction which somehow operates as an escape hatch from the

plain impo1t of half a centmy of binding precedent. But Defenda11ts' "sinole transaction" ar!nunent

is inconsistent with the evidence




49  See, e.g. Ex. 53                       30(b)(6) Dep.) at 207:23-208:13· Ex. 54
30(b)(6) Dep.) at 81:9-2.
50   See, e.g. , Ex. 53                   30(b)(6)) Dep.) at 117:4-23 209:8-210:2.
     See, e. ., id. at 210:3-16; Ex. 55                      6   at 141:18-143:7 -
                                                                                ~
         Dep.) at 6. Indeed, Defendants have taken the position that they lack basic inf01mation
about class members ' swaps see, e.g. Ex. 57 ov. 30, 2021 email from Defendants representing


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       Third, any theoretical need to calculate damages individually would not defeat

certification. In the Second Circuit, it is “well-established” that “the fact that damages may have

to be ascertained on an individual basis is not sufficient to defeat class certification under Rule

23(b)(3).” Roach, 778 F.3d at 405 (quoting Seijas v. Republic of Argentina, 606 F.3d 53, 58 (2d

Cir. 2010)); see also Namenda, 338 F.R.D. at 551 (“Typically, common issues predominate when

liability is determinable on a class-wide basis, even where class members have individualized

damages.” (emphasis in original) (internal quotation marks omitted)). “Comcast did not rewrite

the standards governing individualized damages considerations: it is still ‘clear that individualized

monetary claims belong in Rule 23(b)(3).’” Sykes v. Mel S. Harris & Assocs. LLC, 780 F.3d 70,

88 (2d Cir. 2015) (quoting Wal-Mart, 564 U.S. at 362). “The fact that damages may have to be

ascertained on an individual basis” is simply one factor to be considered “in deciding whether

issues susceptible to generalized proof ‘outweigh’ individual issues.” Roach, 778 F.3d at 408 (2d

Cir. 2015) (quoting McLaughlin v. Am. Tobacco Co., 522 F.3d 215, 231 (2d Cir. 2008)). In this

case, the scale tips in favor of the common issues Plaintiffs have identified above.

       Even if Defendants are somehow correct that class members’ swaps must be considered

when calculating damages (and they are not), the number of VRDOs such swaps could possibly

affect is de minimis.




they “cannot be certain . . . whether a swap is tied to an underlying VRDO” and do “not maintain
such data for each swap”), belying Defendants’ claim that swaps are part of the same transaction
as the bonds serviced by Defendants.
52
  The rate on a SIFMA swap is derived from the SIFMA index, an average of rates for certain
weekly VRDOs. See https://www.sifma.org/resources/research/about-the-municipal-swap-index/
(SIFMA-eligible VRDOs must be, among other things, “a weekly reset, effective on Wednesday”
and “have the highest short-term [credit] rating”).


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-■             Defendants have taken the position that LIBOR swaps are irrelevant to this case. 54 As

for SIFMA swaps, Plaintiffs are not seeking damages from SIFMA manipulation, and SIFMA

swaps would not perfectly offset harm from Defendants’ conspiracy to inflate the VRDO rates at

issue because SIFMA is only an average of certain high-grade VRDOs, including those remarketed

by non-Defendants. See Alaska Elec. Pension Fund v. Bank of Am. Corp., 2017 WL 404500, at *2

(S.D.N.Y. Jan. 27, 2017) (Furman, J.) (even where transactions were “entered into

contemporaneously or in conjunction with” manipulated rate, such transactions “we[re] not

relevant to even the most capacious understanding of the netting doctrine”). That leaves “cost-of-

funds swaps.” But the swaps data Defendants produced includes information for just 55 cost-of-

funds swaps, reflecting merely 0.6% of the VRDOs remarketed by the six Defendants who

produced such data. See Schwert Rpt. ¶ 106. Those 55 transactions cannot possibly overcome the

numerous and weighty common issues in this case.

                   B.      Sub-Class-Wide Evidence Is Available to Prove Defendants Breached
                           their Remarketing Agreements

          The Court should also certify the Contract Sub-Class. These sub-class members’ breach-

of-contract claims will rise or fall together. 55 Defendants’ remarketing agreements imposed two

uniform remarketing obligations on the RMAs: (1) on a VRDO’s periodic reset date, to reset the

VRDO’s interest rate to the lowest possible rate that permitted the bond to trade at par; and (2) to

use best efforts to remarket bonds that have been put back to the remarketer or tender agent, again




53
      Ex. 53                    30(b)(6) Dep.) at 64:6-23.
54
    See, e.g., Ex. 58 (Feb. 11, 2022) (Ltr. from WF) at 1-2 (excluding LIBOR swaps from data
production); Ex. 59 (Feb. 8, 2022) (Ltr. from Barclays) at 1 (same); Ex. 60 (Aug. 26, 2021) (e-mail
from Citi) (same).
55
     Plaintiffs are no longer pursuing breach of fiduciary duty claims against any Defendants.


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using the lowest possible rates that would permit the bonds to trade at par. 56 Defendants breached

these contractual duties by failing to set rates independently and competitively, and instead

coordinating among each other to set artificially high rates. Where, as here, Defendants’ contract

obligations are “identical in all material respects, and Plaintiffs allege that [defendant] breached

each contract through a single course of action,” certification is warranted. AXA, 2020 WL

4694172, at *7.

          Variations in contract language will not defeat certification. So long as the contracts are

“materially uniform insofar as they impose the same dut[ies],” and “plaintiffs’ contract claims will

focus predominantly on common evidence” to determine whether Defendants breached the

agreements, common issues predominate. U.S. Foodservice., 729 F.3d at 125; see also Buffington

v. Progressive Advanced Ins. Co., 2022 WL 3598310, at *6 (S.D.N.Y. Aug. 23, 2022)

(“[C]ertification under Rule 23(b)(3) is warranted for claims that involve contracts that, like here,

contain the same or essentially the same terms.” (emphasis added) (alteration omitted) (quoting

Fleisher v. Phoenix Life Ins. Co., 2013 WL 12224042, at *13 (S.D.N.Y. July 12, 2013))).

          Here, Defendants’ own VRDO rate setters acknowledge that all remarketing agreements

impose identical remarketing obligations on Defendants. For example, Citi rate setter Thomas

Broge agreed that he “d[idn’t] need to review every agreement, because [he] kn[e]w that [his] role

as a rate resetter [was] to set the rate at the lowest rate that will permit the bond to trade at par.”57


56
  See, e.g., Ex. 61 (BOFA-VRDO-SDNY-00002813) §§ 9(a), (b) (Aug. 20, 2009 Remarketing
Agreement); Ex. 62 (BOFA-VRDO-SDNY-00002241) at 1, A-2 (Aug. 13, 2009 Bond
Authorization for Gas Works Revenue Refunding Bonds, Eighth Series); Ex. 63 (PHL0034104)
§§ 3, 3(b) (Remarketing Agreement), Ex. 64 (PHL0032118-119 and 112) at Exhibit C-2-3, § 1.04
and Exhibit B-6 (Bond Authorization for General Obligation Multi-Modal Refunding Bonds,
Series 2007B); Ex. 65 (BALT_VRDO-00004931§ 1(b) (Remarketing Agreement);
Ex. 66 (BALT_VRDO-00005103) at 17, 50-51 (First Supplemental Indenture for Taxable
Refunding Revenue Bonds (Baltimore City Parking System Facilities), Series 2008)).
57
     Ex. 35 (Broge (Citi) Dep.) at 39:23-40:7.


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In his words, “the obligation for Citi to use its best efforts to remarket tendered bonds [was] a

common feature of remarketing agreements,” and he “d[idn’t] need to review every agreement to

know that part of [his] job was to use best efforts to remarket tendered bonds.” 58 The record

contains a host of similar testimony. 59 Barclays’ rate setter Frank Murphy explained that an RMA’s

obligation to use its “judgment” “to provide the lowest possible rate that would clear the market”

was standard across the industry. 60 Multiple Goldman Sachs witnesses testified that they

understood themselves to have the same remarketing duties across issuers. 61 And Bank of America

rate setter Farah Desbas confirmed that she was unaware of any remarketing agreement that did

not require the RMA to reset the rate on a best-effort basis. 62

          It makes no difference that the contracts may implicate multiple states’ contract law. “[A]s

the Second Circuit observed in affirming certification of a nationwide class, ‘state contract law

defines breach consistently such that the question will usually be the same in all jurisdictions.’” In

re AXA, 2020 WL 4694172, at *7 (quoting U.S. FoodService, 729 F.3d at 126-27); see also Am.

Airlines, Inc. v. Wolens, 513 U.S. 219, 233 n.8 (1995) (“[C]ontract law is not at its core diverse,

nonuniform, and confusing.”) (internal quotation marks and citation omitted); Klay v. Humana,

Inc., 382 F.3d 1241, 1263 (11th Cir. 2004) (“A breach is a breach is a breach, whether you are on

the sunny shores of California or enjoying a sweet autumn breeze in New Jersey.”).


58
     Id. at 40:12-22.
59
  See Ex. 67 (BOA 30(b)(6) Dep.) at 118:9-119:3; Ex. 68 (DeMichiel (Citi) Dep.) at 34:2-35:20;
Ex. 14 (McCarthy (JPM) Dep.) at 53:19-54:2; Ex. 10 (Morgan 30(b)(6) Dep.) at 65:3-11; Ex. 69
(Ferrentino (RBC) Dep.) at 25:8-27:5; Ex. 70 (Coursey (WF) Dep.) at 133:5-134:2; see also infra
nn.61-63.
60
     Ex. 34 (Murphy (Barclays) Dep.) at 68:23-69:18.
61
  See Ex. 9 (Klein (Goldman) Dep.) at 62:14-63:5; Ex. 71 (Ciraolo (Goldman) Dep.) at 21:22-
22:13; Ex. 72 (Keltz (Goldman) Dep.) at 60:8-61:3.
62
     See Ex. 73 (Desbas (BOA) Dep.) at 46:16-47:11.


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        III.   DEFENDANTS' STATUTE-OF-LIMITATIONS DEFENSES CANNOT
               DEFEAT CERTIFICATION

        To toll the statute of limitations, Plaintiffs will show that Defendants concealed their

conspiracy. "Plaintiffs may prove concealment by showing either that the Defendants took

affnmative steps to prevent plaintiffs' discove1y of the conspiracy, or that the conspiracy itself was

inherently self-concealing." In re NASDAQ Mkt.-Makers Antitrust Lihg., 169 F.R.D. 493 , 520

(S.D.N.Y. 1996). Because the conceahnent inqui.ty focuses on Defendants' conduct, cowts have

"overwhehni.t1gly held that . . . the common question of whether Defendants successfully

concealed the existence of the alleged conspiracy predominates over any individual questions

regarding the knowledge or diligence of individual plai.t1tiffs." Id. at 521; see also Indus.

Diamonds, 167 F.R.D. at 385 (explaini.t1g that of although " [t]he issues of each putative class

member's lack of knowledge and due diligence may require individualized consideration," "the

majority of cowis that have considered this issue have held that these individual issues do not

preclude the celiification of a class").

        Here, Defendants' "conspiracy was inherently self-concealing, for by its ve1y natme, the

conspiracy could not succeed unless kept a secret." Sonterra Cap. Master Fund Ltd. v. Credit

Suisse Grp. AG, 277 F. Supp. 3d 521 , 567 (S.D.N.Y. 2017). Had Defendants publicly disclosed

that they were conspiring to inflate VRDO rates, their conspiracy could not have continued.

Moreover, issuers were not present on the trading floor, and could not have known precisely how

RMAs were selecting VRDO rates
                                                                       63
                                                                   .        So long as rates were inflated




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across the board, issuers had no basis to complain—all but guaranteeing that issuers could not

uncover Defendants’ conspiracy. As Citi manager John Heppolette explained, “A tight distribution

would refute the allegation that we are cheap to competitors.” 64 This is sufficient to show

concealment. See U.S. Foodservice, 729 F.3d at 128 (fraudulent concealment issues failed to defeat

predominance where common evidence showed defendant “intended to conceal” the truth and

defendants failed to show that plaintiffs had the “necessary tools to uncover the fraud”).

          Although not required to do so, Plaintiffs can also show, using class-wide proof, that

Defendants took affirmative steps to conceal their conspiracy. Throughout the Class Period,

Defendants uniformly (and falsely) messaged to class members that they were competing with one

another to set the lowest rates. 65 Defendants never disclosed that they were sharing information

about prospective rates and inventory levels and using that information to set inflated rates on the

VRDOs they remarketed. On the contrary, Defendants outwardly claimed to be competing to set

the lowest possible rates, and to this day, still disclaim the existence or knowledge of the

conspiracy. 66

          Glossing over years of concealment, Defendants apparently plan to argue that Plaintiffs

should have been able to observe that VRDO rates were inflated, triggering a duty to investigate

Defendants’ conduct. Defendants cannot explain how Plaintiffs could possibly have recognized

that VRDO rates had been inflated “based on the bare fact of their publication, any more than any

other consumer . . . would recognize artificially fixed prices.” Sullivan v. Barclays PLC, 2017 WL

685570, at *27 (S.D.N.Y. Feb. 21, 2017). Nor can Defendants explain how any potential awareness



64
     Ex. 51 (Heppolette (Citi) Dep.) at 68:23-69:4.
65
     See supra at 4-5.
66
     Ex. 36 (Brewer (BOA) Dep.) at 143:11-144:9; Ex. 74 (Hamel (RBC) Dep.) at 90:10-23.


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of J.J. Kenny’s indices could have put them on inquiry notice. In fact, no Defendant has asserted

a specific accrual date, despite having the burden to do so. 67

        Defendants have also suggested that certain qui tam lawsuits related to VRDOs gave class

representatives actual notice of, or at least triggered a duty to investigate, Defendants’ misconduct

alleged in this case. But whether these qui tam suits put reasonable issuers on notice of their claims

is a common question, as explained above. As to actual notice, Defendants have failed to establish

that any class members were aware of qui tam suits alleging the misconduct at issue here, and so

those suits hardly could have triggered the limitations period. See Dkt. 312 at 22 (finding “[t]he

lack of allegations in the [2014 California qui tam complaint] regarding the central claims in the

Amended Complaint here” “fatal to Defendants’ argument” that San Diego had constructive notice

of its claims against Defendants). “[A]ny individual questions concerning each putative class

member’s lack of knowledge and due diligence may be considered, if necessary, when the court

addresses each putative class member’s damage claim.” Indus. Diamonds, 167 F.R.D. 374, 385

(S.D.N.Y. 1996); see also Linerboard, 305 F.3d at 163 (“[A]ny individualized facts of fraudulent

concealment may be adjudicated in the same fashion and at the same time as individual damages

issues.”).

        In any case, while affirmative defenses exist in nearly every class action, courts have been

reluctant to deny class action status under Rule 23(b)(3) simply because affirmative defenses may

be available against individual members. See 2 Newberg and Rubenstein on Class Actions § 4:57

(6th ed. 2022) (“Statute of limitations defenses—like damage calculations, affirmative defenses,



67
   See, e.g., Ex. 75 (RBC’s Resp. to Baltimore’s Interrog. No. 18) (stating only that Plaintiffs
should have been on notice of their claims “contemporaneously to the suffering of the alleged harm
and prior to any applicable limitations period”). Goldman Sachs has vaguely asserted accrual “in
or before February 2008.” Ex. 76 (Goldman’s Resp. to Philadelphia’s Interrog. No. 18).


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and counterclaims—rarely defeat class certification.”). It is black-letter law in the Second Circuit

that “although ‘a defense may arise and may affect different class members differently, this

occurrence does not compel a finding that individual issues predominate over common ones.’” In

re Nassau Cnty. Strip Search Cases, 461 F.3d 219, 225 (2d Cir. 2006) (quoting In re Visa

Check/MasterMoney Antitrust Litig., 280 F.3d 124, 138 (2d Cir. 2001) (alteration omitted)).

       IV.     Class Treatment Is a Superior Method to Resolve the Disputes

       Certification under Rule 23(b)(3) requires a finding that “a class action is superior to other

available methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3).

That standard is easily met here, as “substituting a single class action for numerous trials in a

matter involving substantial common legal issues and factual issues susceptible to generalized

proof will achieve significant economies of time, effort and expense, and promote uniformity of

decision.” U.S. Foodservice, 729 F.3d at 130 (internal quotation marks omitted).

                                         CONCLUSION

       As set forth above, Plaintiffs can prove all aspects of their claims on a class-wide basis

using common proof. The Court should, therefore, certify the Class and the Contract Sub-Class,

both as defined this memorandum, and appoint Quinn Emanuel Urquhart & Sullivan, LLP,

Wollmuth Maher & Deutsch LLP, and Susman Godfrey LLP as Co-lead Class and Sub-Class

Counsel pursuant to Rule 23(g).


 DATED: New York, New York
        October 27, 2022




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                                 CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was served on all parties through their

counsel of record via the Court’s CM/ECF system, on October 27, 2022.



                                              /s/ Elizabeth Aronson
                                              Elizabeth Aronson




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